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                2
                                                UNITED STATES DISTRICT COURT
                3                               EASTERN DISTRICT OF VIRIGINIA
                                                     NORFOLK DIVISION
                4

                5

                6   JOHN MATTHEWS                  )
                                                   )
                7        Plaintiff,                )                    No. 2:11-CV-00141-RGD-FBS
                                                   )
                8        vs.                       )                    STIPULATION OF DISMISSAL
                                                   )                    WITH PREJUDICE AND
                9                                  )                    [PROPOSED] ORDER
                    PORTFOLIO RECOVERY ASSOCIATES, )
              10    LLC.                           )
                                                   )                    Fed. R. Civ. P. 41(a)(1)
              11                                   )
                         Defendant.                )
              12

              13

              14           Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff, JOHN MATTHEWS and Defendant,
              15
                    PORTFOLIO RECOVERY ASSOCIATES, LLC., stipulate, and the Court hereby orders, as
              16
                    follows:
              17
                           1.      The dispute between the parties has been settled, therefore, the claims asserted by
              18
                    Plaintiff, JOHN MATTHEWS, against Defendant, PORTFOLIO RECOVERY ASSOCIATES,
              19

              20    LLC., in the above-captioned proceeding are hereby dismissed, with prejudice, pursuant to Fed. R.

              21    Civ. P. 41(a)(1).
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                    Dated: August 23, 2011             /s/ Richard W. Ferris_____
                5
                                                       Richard W. Ferris
                6                                      VSB: #31812
                                                       Ferris Winder, PLLC
                7
                                                       530 East Main Street
                8                                      Suite 710
                                                       Richmond, VA 23219
                9                                      rwferris@ferriswinder.com
              10                                       Attorney for Plaintiff,
                                                       JOHN MATTHEWS
              11

              12    Dated: August 23, 2011
              13
                                                       /s/ Steven R. Zahn__________________
              14
                                                       Steven R. Zahn
              15                                       140 Corporate Boulevard
                                                       Office of General Counsel
              16                                       Norfolk, VA 23502
                                                       szahn@portfoliorecovery.com
              17

              18                                       Attorney for Defendant,
                                                       PORTFOLIO RECOVERY ASSOCIATES, LLC.
              19

              20
                    THE FOREGOING STIPULATION
              21    IS APPROVED AND IS SO ORDERED.
              22    Dated:
                                                       _________________________________
              23                                       The Honorable Judge
              24                                       United States District Judge

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                    _______________________________________________________________________________________________
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